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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                TEXARKANA DIVISION

  HEALTH CHOICE GROUP, LLC and JAIME
  GREEN, on behalf of the UNITED STATES OF
  AMERICA; STATE OF ARKANSAS; STATE
  OF CALIFORNIA; STATE OF COLORADO;
  STATE OF CONNECTICUT; STATE OF
  DELAWARE; DISTRICT OF COLUMBIA;
  STATE OF FLORIDA; STATE OF GEORGIA;
  STATE OF HAWAII; STATE OF ILLINOIS;
  STATE OF INDIANA; STATE OF IOWA;
  STATE OF LOUISIANA; STATE OF
  MARYLAND; COMMONWEALTH OF
  MASSACHUSETTS; STATE OF MICHIGAN;
  STATE OF MINNESOTA; STATE OF
  MONTANA; STATE OF NEVADA; STATE OF
  NEW HAMPSHIRE; STATE OF NEW JERSEY;
  STATE OF NEW MEXICO; STATE OF NEW          Civil Action No.: 5:17-CV-126-RWS-CMC
  YORK; STATE OF NORTH CAROLINA;
  STATE OF OKLAHOMA; STATE OF RHODE               JURY TRIAL DEMANDED
  ISLAND; STATE OF TENNESSEE;
  STATE OF TEXAS; STATE OF VERMONT;
  COMMONWEALTH OF VIRGINIA; and
  STATE OF WASHINGTON,

        Plaintiffs/Relators,

  v.

  BAYER CORPORATION; AMGEN INC.;
  ONYX PHARMACEUTICALS, INC.;
  AMERISOURCEBERGEN CORPORATION;
  and LASH GROUP,

        Defendants.



                        PLAINTIFFS’/RELATORS’ RESPONSE TO
                      DEFENDANTS’ MOTION TO STAY DISCOVERY




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            Relators Health Choice Group, LLC and Jamie Green, on behalf of the United States of

  America, State of Arkansas, State of California, State of Colorado, State of Connecticut, State of

  Delaware, District of Columbia, State of Florida, State of Georgia, State of Hawaii, State of

  Illinois, State of Indiana, State of Iowa, State of Louisiana, State of Maryland, Commonwealth of

  Massachusetts, State of Michigan, State of Minnesota, State of Montana, State of Nevada, State

  of New Hampshire, Sate of New Jersey, State of New Mexico, State of New York, State of

  North Carolina, State of Oklahoma, State of Rhode Island, State of Tennessee, State of Texas,

  State of Vermont, Commonwealth of Virginia, and State of Washington (collectively,

  “Relators”) respectfully request the Court deny the Opposed Motion to Stay Discovery (Dkt. 40)

  (“Motion”) filed by Defendants Bayer Corporation (“Bayer”), Amgen, Inc. (“Amgen”), Onyx

  Pharmaceuticals, Inc. (“Onyx”), AmerisourceBergen Corporation (“AmerisourceBergen”), and

  Lash Group (“Lash”) (collectively, “Defendants”).

                                            Introduction

            This action arises from Defendants’ unlawful marketing schemes, which are being used

  to defraud the government. As set forth in detail in Relators’ Amended Complaint (Dkt. 32), for

  years Defendants have engaged in ongoing unlawful schemes to induce Prescribers to prescribe

  Bayer and Amgen products. Defendants have paid Prescribers through in-kind remuneration and

  have employed and paid so-called “nurse educators” to act as undercover, “white-coated” sales

  agents for Bayer and Amgen. The complaint not only alleges historical misconduct, but ongoing

  misconduct that continues today.

            Pointing to their meritless motion to dismiss (Dkt. 38), Defendants have moved to stay

  discovery, notwithstanding Local Rule CV-26(a), which states that “a party is not excused from

  responding to discovery because there are pending motions to dismiss,” and is explicitly titled




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  “No Excuses.” Defendants’ Motion is just that – an excuse to delay resolution of this case. The

  relief Defendants seek is contrary to the federal and local rules, and Defendants have shown no

  special circumstances justifying a departure from this Court’s ordinary practice of denying

  discovery stays. Accordingly, the Court should deny Defendants’ Motion.

                                              Argument

            Local Rule CV-26(a) directs that a stay of discovery pending a motion to dismiss is

  generally not appropriate. Indeed, under Local Rule CV-26 and Federal Rule of Civil Procedure

  26, the presumption is that discovery shall proceed notwithstanding the filing of a motion to

  dismiss. Fed. R. Civ. P. 26 (no automatic stay imposed upon filing of motion to dismiss; rather,

  parties are directed to confer on discovery schedule “as soon as practicable”).

            In the Fifth Circuit, staying discovery while a motion to dismiss is pending “is the

  exception rather than the rule.” Griffin v. Am. Zurich Ins. Co., No. 3:14-cv-2470-P, 2015 WL

  11019132, at *2 (N.D. Tex. Mar. 18, 2015). This means that a motion to stay discovery is not

  “automatically granted whenever a motion to dismiss is pending.” Id. “Nor is a stay of

  discovery permitted merely because defendant believes it will prevail on its motion to dismiss.”

  Id. “Had the Federal Rules contemplated a motion to dismiss . . . would stay discovery, the

  Rules would contain a provision to that effect.” Valenzuela v. Crest-Mex Corp., No. 3:16-cv-

  1129-D, 2017 WL 2778104, at *5 (N.D. Tex. June 26, 2017).

            An order staying discovery should only be issued upon a showing of “good cause” by the

  movant. Griffin, 2015 WL 11019132, at *2; Fed. R. Civ. P. 26(c). In evaluating whether

  movants have met their burden, some courts consider the breadth of discovery sought, the burden

  of responding to such discovery, and the strength of the dispositive motion filed by the party

  seeking a stay. Griffin, 2015 WL 11019132, at *2 (citing Von Drake v. Nat’l Broad. Co., No.


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  3:04-cv-0652R, 2004 WL 1144142, at *1 (N.D. Tex. May 20, 2004)). Defendants have failed to

  set forth any special circumstances, let alone good cause, to justify the delay that they seek.

            A.     General Discovery Is Not a “Fishing Expedition”

            Defendants focus their Motion primarily on their claims that Relators need to satisfy their

  Rule 9(b) pleading obligations without discovery, and the possibility that, if their motion to

  dismiss is successful, the need for discovery would be eliminated. Dkt. 40 at 2-4. “But this is

  true any time a dispositive motion is filed. Permitting a stay of discovery simply upon the filing

  of such a motion would allow the exception to swallow the rule.” Syngenta Seeds, Inc. v. BTA

  Branded, Inc., No. 05 C 6673, 2007 WL 3256848, at *2 (N.D. Ill. Nov. 1, 2007). Contrary to

  Defendants’ suggestion, the fact that this is an action brought under the False Claims Act

  (“FCA”) does not alter the general rule. See, e.g., United States v. Infilaw Corp., No. 16-cv-970,

  2018 WL 889024, at *4-*5 (M.D. Fla. Feb. 14, 2018) (denying discovery stay pending decision

  on motion to dismiss in FCA case despite the fact that plaintiff’s discovery was “far reaching”

  because there are discovery “rules to constrain the parties”).

            Put simply, Rule 9(b) does not entitle Defendants to an automatic stay. Defendants note

  that the Fifth Circuit has described Rule 9(b) as a “screening function” or a “gatekeeper to

  discovery.” Dkt. 40 at 1-2, 5-6. Defendants thus argue that no discovery should occur in this

  case until after Relators have affirmatively demonstrated that they have satisfied the

  requirements of Rule 9(b) by surviving Defendants’ motion to dismiss so as to prevent a “fishing

  expedition.” But Defendants read these cases too broadly.

            While one purpose of Rule 9(b) is to prevent “fishing expeditions,” Defendants’ cases

  cited in support say nothing about the propriety of granting a stay pending a motion to dismiss

  pursuant to Rule 9(b). Some of Defendants’ cited cases do not address discovery stays at all.


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  See U.S. ex rel. Grubbs v. Kanneganti, 565 F.3d 180, 183 (5th Cir. 2009); U.S. ex rel. Foster v.

  Bristol-Myers Squibb Co., 587 F. Supp. 2d 805 (E.D. Tex. 2008). And in the one case that does,

  the discovery stay was granted pending ruling on a summary judgment motion after the plaintiff

  had been given an initial opportunity to seek discovery and an additional 6-month extension of

  time for discovery. See Fujita v. United States, 416 Fed. App’x 400, 402-03 (5th Cir. 2011).

  Indeed, the 5th Circuit has concluded that Rule 9(b) “is context specific and flexible and must

  remain so to achieve the remedial purpose of the False Claims Act.” Grubbs, 565 F.3d at 190.

            Defendants state that “[c]ourts frequently grant discovery stays in FCA cases pending

  resolution of a motion to dismiss based on a failure to satisfy Rule 9.” Dkt. 40 at 5-6. Yet,

  Defendants have not cited one case from this district granting such a motion. And, even the

  cases relied on by Defendants are inapposite.         See, e.g., U.S. ex. rel. Fla. Soc’y of

  Anesthesiologists v. Choudry, Case No. 8:13-cv-2603-T-27AEP, 2016 WL 7205970, at *1, *3

  (M.D. Fla. Oct. 11, 2016) (staying discovery after having granted defendants’ motion to

  dismiss); U.S. ex rel. Day v. UT Medical Group, Inc., No. 12-cv-021390JPM-tmp, 2013 WL

  12149636, at *1-*2 (W.D. Ten. Aug. 15, 2013) (addressing plaintiff’s motion to compel

  discovery and finding that prior-granted discovery stay precluded motion to compel; no

  discussion concerning propriety of discovery stay); U.S. ex rel. Lusby v. Rolls-Royce Corp., No.

  1:03-CV-0680-SEB/WTL, 2007 WL 4557773, at *5-*7 (S.D. Ind. Dec. 20, 2007) (staying

  discovery where blatantly deficient allegations and overly broad discovery requests made it clear

  relator was seeking to uncover bare essentials of FCA claims); Pennington v. Vail Products, Inc.,

  No. Civ. A. 303CV1961D, 2004 WL 302298, at * (N.D. Tex. 2004) (addressing merits of

  defendant’s motion to dismiss in non-FCA case; no discussion of discovery stays). Here, unlike




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  in the cases cited by Defendants, the motion to dismiss has not been decided, Relators’

  allegations are not deficient, and Relators have not made overly broad discovery requests.

            Defendants’ Motion amounts to a request that the Court predetermine that Relators have

  not met their pleading obligations. See Cloverleaf Golf Course, Inc. v. FMC Corp., No. 11-cv-

  190-DRH, 2011 WL 2838178, at *4 (S.D. Ill. July 15, 2011) (denying motion to stay because,

  among other things, “[t]he Court cannot presume that the motion to dismiss will be granted”).

  Moreover, there is an obvious distinction between allowing a “fishing expedition” and allowing

  the parties to engage in the usual course of discovery. In contrast to cases where a plaintiff’s

  complaint was glaringly deficient such that the plaintiff was indeed seeking to begin a fishing

  expedition, here, Relators have set forth an extensive factual background and detailed allegations

  supported by evidence.

            B.     The Breadth and Burden of Discovery Does Not Justify a Stay

            Defendants broadly decry the burden that they expect will be associated with responding

  to discovery requests, but they offer no estimate regarding how much time or how much money

  will be expended, and they offer no analysis as to why such amounts would be disproportionate

  to the extent of the alleged misconduct in this case. Indeed, aside from one sentence where

  Defendants state that “they will have been put through needless expense” if “the Court

  eventually dismisses” the case, Defendants say nothing about their own burden, choosing instead

  to focus on the burden that third-parties might incur. Dkt. 40 at 2, 4, 6-7.

            “Parties always are burdened when they engage in litigation, whether the case ultimately

  is dismissed; summary judgment is granted; the case is settled; or a trial occurs. That is a

  consequence of our judicial system and the rules of civil procedure.” Standard Bank PLC v.

  Vero Ins., Ltd., No. 08-cv-02127-PAB-BNB, 2009 WL 82494, at *2 (D. Colo. Jan. 13, 2009)


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  (denying discovery stay pending decision on motion to dismiss). See also Valenzuela, 2017 WL

  2778104, at *2, *6 (N.D. Tex. June 26, 2017) (denying discovery stay even where nine

  defendants had been served with, among other things, 603 discovery requests and plaintiff had

  requested depositions of all defendants’ corporate representatives on “wide-reaching” topics).

  “The wheels of justice would surely grind to a halt if discovery were stayed pending dispositive

  motions and based on such generic allegations of undue burden and expensive [sic].” Hoxie v.

  Livingston Cnty., No. 09-CV-10725, 2010 WL 822401, at *1 (E.D. Mich. Mar. 4, 2010) (denying

  discovery stay pending decision on motion to dismiss where Defendants made general

  allegations that they would have to retrieve voluminous information from multiple counties).

            Defendants focus on the nature of Relators’ allegations in the Amended Complaint to

  argue that the scope of these allegations would “necessarily implicate extensive discovery of the

  Government” and “will require discovery from doctors who prescribed the medicines at issue.”

  Dkt. 40 at 7. However, Defendants’ concerns with the potential burden on third-parties do not

  justify a stay of discovery as to Defendants. See Takiguchi v. MRI Intern., Inc., (D. Nev. July 7,

  2014) (noting that discovery stay not violated where party subpoenas third party or propounds

  discovery on third party). Even if these concerns were sufficient, Defendants’ assertions “only

  detail[ ] the usual inconveniences and costs that are associated with discovery practice,” and

  certainly do not explain how Defendants will suffer “unique hardship if discovery proceeds in

  this matter.” Ashford Inc. v. Unite Here, No. 3:15-cv-0262-M, 2015 U.S. Dist. LEXIS 179792,

  2015 WL 11121019, at *2 (N.D. Tex. May 12, 2015) (denying discovery stay pending decision

  on dispositive motions). These assertions simply do not “suffice to show hardship or inequity”

  or other good cause that would justify departing from this Court’s ordinary practice not to stay

  discovery. Id.


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            At this point, any burden on Defendants or third-parties is speculative, particularly given

  that the parties have not exchanged discovery requests, and any undue burden that does

  materialize may be avoided through discussion with Relators to narrow or amend Relators’

  discovery requests. As a last resort, discovery disputes can be raised with the court, but a stay is

  both premature and a disproportionate remedy where more tailored solutions will address

  Defendants’ concerns when they arise, if ever.

            Additionally, Defendants’ arguments fail to consider other facets of the court’s decision

  regarding whether to grant a stay, such as the prejudice to the judicial system as a whole.

  Indeed, “the Court has a general interest in efficiently managing its docket, an interest that is

  rarely served by staying discover[y] pending the outcome of an arguably meritorious dispositive

  motion.” Id. at *2.

            Moreover, “[b]efore restricting discovery, the court should . . . [take] into account

  society’s interest in furthering ‘the truthseeking function’ in the particular case before the court.”

  Patterson v. Avery Dennison Corp., 281 F.3d 676, 681 (7th Cir. 2002) (citation omitted).

  Relators have alleged a persistent and wide-ranging fraud that, if proven, would establish that

  Defendants (a) have risked the health and safety of patients by tainting Prescriber’s medical

  decisions through kickbacks and (b) have defrauded federal and state taxpayers of hundreds of

  millions of dollars. The FCA was specifically designed to “bring such information forward” and

  staying discovery would therefore impede an important public interest. Hindo v. Univ. of Health

  Sciences/The Chicago Med. School, 65 F.3d 608, 612 (7th Cir. 1995). This alone is reason to

  deny Defendants’ Motion.




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            C.     Strength of the Dispositive Motion

            Given the strong presumption that discovery should proceed in accordance with federal

  and local rules, courts have held that a “stay should be granted only where the motion to dismiss

  appears, upon preliminary review, to be clearly meritorious and truly case dispositive . . .

  rendering discovery a mere futile exercise.” S. Motors Chevrolet, Inc. v. Gen. Motors, LLC, No.

  CV 414-152, 2014 WL 5644089, at *1 (S.D. Ga. Nov. 4, 2014) (citing Alexander v. Allen, No.

  2:13-cv-885-FTM-29CM, 2014 WL 3887476, at *2 (M.D. Fla. Aug. 7, 2014)) (noting that

  motion to dismiss not so “clearly meritorious” as to warrant stay of discovery). Applying these

  principles, after a brief analysis of the merits of the pending dismissal motion, the court in

  Chevrolet held that “while not wholly insubstantial,” defendant’s motion was “no slam-dunk, nor

  so likely to be granted that it warrants the requested discovery stay . . . .” 2014 WL 5644089, at

  *2-3. See also Ashford, 2015 WL 11121019, at *2 (denying discovery stay and noting that the

  court was “not initially persuaded that Defendant’s Motion to Dismiss is meritorious enough to

  warrant a stay of discovery”).

            As in Chevrolet, a preliminary review of the merits of Defendants’ motion to dismiss in

  this case reveals that this motion is “no slam-dunk” – indeed, the motion is without merit, as

  Relators demonstrated in their response – and a stay of discovery is not warranted. Defendants

  selectively disregard portions of Relators’ Amended Complaint because those parts do not fit

  Defendants’ narrative. For example, they ignore the extensive and specific allegations of the

  Defendants’ knowing and intentional scheme, the details regarding the expansive benefits

  provided to Prescribers as kickbacks, and the targeted and intentional “white-coat” promotion by

  Defendants’ undercover nurses. Castrillon v. St. Vincent Hosp. & Health Care Ctr., Inc., No.

  11-cv-0430, 2011 WL 4538089, at *2 (S.D. Ind. Sept. 29, 2011) (“Although this magistrate


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   judge does not in any manner intend to predict the ruling on [defendant’s] motion to dismiss, she

   does observe that some of [defendant’s] arguments appear to rely on a stilted reading of

   [plaintiff’s] complaint and thus may trudge uphill.”).

             By contrast, a simple review of Relators’ Amended Complaint shows that it is not a

   frivolous complaint filed in order to launch a fishing expedition.         Instead, the Amended

   Complaint alleges detailed factual allegations of multiple fraudulent schemes supported by,

   among other things, evidence from Defendants’ own publications and by statements from

   Defendants’ own employees. Thus, even without expressly predicting the outcome of the motion

   to dismiss, the allegations in Relators’ Amended Complaint plainly direct that justice will more

   appropriately be served by pressing forward with discovery rather than grinding the proceedings

   to a halt.

             Defendants argue that a stay is appropriate because “serious concerns have been raised in

   a motion to dismiss.” Dkt. 40 at 5. But, this Court has denied motions to stay discovery in

   circumstances where defendants have made much stronger allegations that their “motion to

   dismiss will be ‘thoroughly dispositive.’” Retractable Techs., Inc. v. Becton Dickinson & Co.,

   Civil Action No. 2:08-CV-16, 2011 WL 13134434, at *2 (E.D. Tex. Mar. 15, 2011) (denying

   discovery stay).

             The prospect of Defendants’ motion to dismiss resolving this case in its entirety is

   wishful thinking, and simply not high enough to justify granting a stay. See e.g., Ray v. Spirit

   Airlines, Inc., No. 12-61528-civ, 2012 WL 5471793, at *2 (S.D. Fla. Nov. 9, 2012) (denying

   defendant’s motion to stay where “the Court cannot say that this case is surely destined for

   dismissal”); Syngenta, 2007 WL 3256848, at *2 (“[I]f the court dismisses the petition for any of

   the three reasons cited, the need for discovery would be eliminated. But this is true any time a


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   dispositive motion is filed. Permitting a stay of discovery simply upon the filing of such a motion

   would allow the exception to swallow the rule.”); Builders Ass’n of Greater Chicago v. City of

   Chicago, 170 F.R.D. 435, 437 (N.D. Ill.1996) (“[A] motion to stay discovery will not be granted

   every time a potentially dispositive issue is placed before the court.”).

             “The fact that a non-frivolous motion is pending is simply not enough to warrant a

   blanket stay of all discovery.” See also U.S. ex rel. Jacobs v. CDS, P.A., No. 4:14-cv-00301,

   2015 WL 5257132, at *1 (D. Idaho Sept. 3, 2015). “In fact, such a notion is directly at odds with

   the need for expeditious resolution of litigation.” Id. Defendants’ conjectures are wholly

   speculative and do not satisfy the high standard Defendants must meet to justify the unique relief

   they seek.

                                               Conclusion

             For the reasons set forth above, Relators respectfully request that this Court deny

   Defendants’ motion to stay discovery (Dkt. 40).




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   Dated: March 26, 2018                  Respectfully submitted,




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                                     CERTIFICATE OF SERVICE

             The undersigned hereby certifies that a true and correct copy of the above and foregoing

   document has been served on March 26, 2018 to counsel of record who are deemed to have

   consented to electronic services via the Court’s CM/ECF system. Any other counsel of record

   will be served by electronic mail, facsimile, U.S. Mail and/or overnight delivery.




                                                                        s/ Radu A. Lelutiu
                                                                        Radu Lelutiu




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